     Case 1:21-mj-00082-ZMF Document 4 Filed 01/28/21 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OS AMERICA              :

            v.                        : Cr.No. 21-MJ-82(ZMF)

GRAYCYN DAWN COURTWRIGHT              :

                   Defendant          :


                       ENTRY OF APPEARANCE

      Please enter my appearance as counsel for the defendant in the above

captioned case nunc pro tunc, January 27, 2021


                                      __________/s/_________________
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